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 3
                                  IN THE UNITED STATES DISTRICT COURT
 4
                                     EASTERN DISTRICT OF CALIFORNIA
 5

 6                                                        Old Criminal Case No.: 1:09-CR-00006-LJO
     UNITED STATES OF AMERICA,
 7                                                        New Criminal Case No: 1:09-CR-00006-LJO-SKO
                Plaintiff,
 8
                             v.
 9
     ANGELITA LEON,
10
                Defendant and Judgment Debtor.
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     SETTON PISTACHIO OF TERRA BELLA,
12                                                        Old Misc. Case No.: 1:19-MC-00067-SKO
     INC., dba SETTON FARMS,
13                                                        New Misc. Case No.: 1:19-MC-00067-LJO-SKO
     (and its Successors and Assignees)
14
                Garnishee.
                                                          RELATED CASE ORDER
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18          Examination of the above-entitled actions reveals that they are related within the meaning of
19 Local Rule 123(a). Accordingly, the assignment of the actions to the same judge and magistrate judge is

20 likely to achieve a substantial savings of judicial effort and is also likely to be convenient for the parties.

21          The parties should be aware that relating the cases under Local Rule 123 merely has the result
22 that these actions are assigned to the same judge and magistrate judge; no consolidation of the actions is

23 effected.

24          IT IS THEREFORE ORDERED that the actions denominated 1:09-CR-00006-LJO and 1:19-
25 MC-00067-SKO be reassigned to Chief District Judge Lawrence J. O’Neill and Magistrate Judge Sheila

26 K. Oberto for all further proceedings. Henceforth, the captions on documents filed in the reassigned
27 cases shall be shown as 1:09-CR-00006-LJO-SKO and 1:19-MC-00067-LJO-SKO.

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       RELATED CASE ORDER                                  1
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           Case 1:09-cr-00006-LJO-SKO Document 60 Filed 09/20/19 Page 2 of 2

 1          IT IS FURTHER ORDERED that pursuant to 28 U.S.C. § 3008 and 28 U.S.C. § 636(b)(1)(B)

 2 the matters are referred to the magistrate judge to the extent permitted by law.

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     IT IS SO ORDERED.
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 5      Dated:    September 19, 2019                        /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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      RELATED CASE ORDER                                2
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